Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 1 of 68 PagelD: 539

COUNTY OF SOMERSET

OFFICE OF THE COUNTY COUNSEL

21 North Bridge Street

P.O. Box 1034

Somerville, New Jersey 08876

(908) 685-0906 (SDR 1281)

Attorneys for Defendant Somerset County Sheriff Frank J. Provenzano, Sr.

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY

THOMAS I. GAGE, : Civil Action No. 3:1 1-cv-00862-FLW-TJB

Plaintiff(s)

VS. :
: CERTIFICATION OF

WELLS FARGO BANK, NA AS and : THOMAS PRZYBYLSKI
SOMERSET COUNTY SHERIFF
FRANK J. PROVENZANO

Defendants

 

I, THOMAS PRZYBYLSKI, do hereby certify as follows:

1. Iam employed as the Sheriff's Sales Coordinator with the Somerset County Sheriff's
Office (hereinafter the “Sheriff's Office”). I have been employed with the Sheriff's Office since
1984 and involved with Sheriff's sales since 1991. I have served as the Sales Coordinator since
2005. I personally coordinated the Sheriff’s sale forming the subject of this lawsuit and submit this
Certification in support of the summary judgment motion filed on behalf of Defendant Somerset
County Sheriff Frank J. Provenzano, Sr. (hereinafter “Shertff Provenzano”) filed in connection with
the above-referenced matter.

2. The factual background pertaining to the Sheriffs sale forming the subject of this lawsuit
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 2 of 68 PagelD: 540

is as follows:

(a) By way of letter dated April 26, 2010, attorneys for Wells Fargo Bank (hereinafter
“WEB”) forwarded to the Sheriff's Office a Writ of Execution entered by Mary C. Jacobson,
P.J.Ch. on April 13, 2010 covering the property “more commonly known as 51 Hillcrest
Boulevard, Warren, New Jersey 07059” (hereinafter the “Subject Property”). Also by way
of this cover letter, the original Affidavit of Consideration and Short Form Description was
forwarded to the Sheriff's Office as well. (See April 26, 2010 cover letter together with
Writ of Execution, Short Form Description and Affidavit of Consideration attached
hereto at Exhibit A).

(b) Following receipt of the foregoing documents, the Sheriff's Office placed the
appropriate sheriff's sale advertisement in three (3) newspapers (Courier News, Recorder
Publisher, and Somerset Spectator) on May 13, 2010, May 20, 2010, May 27, 2010, and June
3, 2010. (See Sheriff's Sale Advertisement and Publication Worsheet attached hereto at
Exhibit B).

(c) On May 14, 2010, Shenffs Officer Michael DeRosa posted the Sheriff's Sale
Advertisement along with the Writ of Execution on the front door of the residence located at
the Subject Property. (See Sheriff's Office Posting Report attached hereto at Exhibit C).

(d) On June 4, 2010 and June 18, 2010, Plaintiff Thomas Gage (hereinafter “Mr. Gage”)
applied for and received adjournments of the Sheriffs sale pertaining to the Subject
Property. (See Applications for Adjournment of Sheriff's Sale dated June 4, 2010 and
June 18, 2010 attached hereto at Exhibit D).

(e} The Sheriff's sale of the Subject Property took place on July 6, 2010 at which time a
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 3 of 68 PagelD: 541

WFB representative tendered the successful bid of $461,000.00. (See Sales Upset Report,
Bidding Worksheet, Sales Worksheet, and executed Conditions of Sale Report attached
hereto at Exhibit E).

(f) By way of my letter dated September 15, 2010, I notified the attorneys for WFB of
the amount due and owing the Sheriff's Office pursuant to the subject Sheriffs sale. (See
copy of September 15" letter attached hereto at Exhibit F).

(2) On September 27, 2010, the Sheriff's Office received payment forwarded by the

th

attorneys for WFB. (See copy of September 15" letter and check stub attached hereto at

Exhibit G).

(h) On October 4, 2010, the Sheriff's Deed was executed covering title to the Subject
Property. (See copy of Sheriff's Deed attached hereto at Exhibit H).

(i) On October 28, 2010, the realty transfer fee and Sheriff's Deed were presented to the
Somerset County Court Clerk’s Office for filing. (See copy of County Clerk’s Report,
Payment Receipt and filed Sheriff’s Deed attached hereto at Exhibit 1).

(j) On January 3, 2011, Sheriff's Office Andrew Mospack served Mr. Gage with a Writ
of Possession at which time Mr. Gage refused to leave the Subject Property. (See Civil
Process Report attached hereto at Exhibit J).

(k) Upon information and belief, Mr. Gage raised with the Court legal arguments
concerning whether the Writ of Possession could be executed given the purported existence
of a “tenancy” situation.

(1) By way of letter dated August 4, 2011, attorneys for WFB advised Mr. Gage

concerning a scheduled eviction at the Subject Property. (See copy of August 4, 2011 letter
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 4 of 68 PagelD: 542

attached hereto at Exhibit Kk).

(m)} On August 5, 2011 the Sheriffs Office received a Writ of Possession entered by
Mary C. Jacobson, P.J.Ch. on August 2, 2011 with attached Certification to Support Issuance
of Writ of Possession. (See Writ of Possession entered by Judge Jacobson and
Certification by Felicia Ekejiuba, Esq. attached hereto at Exhibit L).

(n) On August 8, 2011, Judge Jacobson’s Writ of Possession was executed at the Subject
Property by representatives of the Sheriffs Office including myself. Also present were
Officers from the Warren Township Police Department as well as Mr. Gage himself. (See

Civil Process Report attached hereto at Exhibit M).

I hereby certify that the foregoing statements made by me are true. lam aware that ifany of

the foregoing statements made by me are willfully false, | am subject to punishment.

we CILD

Name: Thomas Przybylski
Title: Sales Coordinator

Dated: /2/20/Z001
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 5 of 68 PagelD: 543

EXHIBIT A
at AS@.9:11-cv-00862-FLW-TJB
FEIN,

HESIAY H. FEIN 3+

PHILIP A. KAHN &

PAMES &. SHEPARD

UREGU P. TABARIN ge

ERIC S.KAPMICK2

DEIRDRE R. WHEATLEY-LISS 99°
VINCENT DIMAIOLO, JR. 9
MARIO A, SERRA, JR.

PETER R. LAY ( (957-1990)

9 ALEO MEMBER OF NY BAR
© ALSO MEMBER PA BAR
8 ALSO MEMBER MD BAR
S ALSO MEMBER MA BAR
+ ALSO MEMBER FL BAR
* MEMBER NY BAR ONLY
3 ALSO MEMBER CT BAR
> LLALIN TAXATION
* ALSO MEMBER U.S TAX COURT
+ ALSO MEMBER CC RAR

@ CERTIFIED ELDER LAW ATTORNEY +
CERTIFIED BY THE SUPREME COURT OF
NEW JERSEY AS A CHVIL TRIAL
ATTORNEY

SHERIFF OF SOMERSET
20 Grov fe St.,

Document 37-1 Filed 12/20/11 8° 6 of 68

SUCH, KAHN & SHEPARD

COUNSELLORS AT LAW

7 CENTURY DRIVE, SUITE 201
PARSIPPANY, NEW JERSEY 07054
(973) 538-9300

FACSIMILE (973) 538-B23+

wieww.feinstech com

April 26, 2010

COUNTY
PO Box 3000

Somerviile, New Jersey 08876
RE: WELLS FARGO BANK, NA AS vs. THOMAS GAGE
COMPLAINT FILING DATE - 06/13/08
Docket No. F-22089-08
Our File No. FHO668

Dear Sir or Madam:

PagelD: 544
Cr

ttt cut
DONALD 4. RICHARDS 944
SHARISEFFER 9
ROBERT WINTERS 94>
MICHAEL 5. REUTER @+
COUGLAS 5. CHARIPPER 9
BRLAM KINCAID =¢
HEIDI FEYLER +
STACEY C. MAIDEN

BRIAN PS. MeCABE
MICHAEL §. HANUSEX @
SAMIT PATEL @

RICHARD ZIMMERMAN
JOSHUA SEARS 0

KRISTEN A. KLICS 9
TAMMY TERRELL BENOZA 2
STEVEN A. LOEB © = 4
NANCY BE. CAMPANOZZI 94
NICHOLAS}. CANOVA 9
RAY ALEBRON

DAVID}. LEVINE

ALVIN L. DARBY 9
RICHARD D. FEMANO @
MELISSA LICKER 96
RICHARD A.GERBINO @
JESSICA A. BERRY

MONICA G. CHRISTIE a
DOLORES M. DE ALMEIDA
FELICIA EXEUBA @
DONNA M. MILLER

MAXIME H. BEAULIEU 9
CHRISTOPHER KCOS$
CHRISTINE GUARNERI 9
SIMONE A.PERSAUD 2

 

Enclosed herewith please find the Original and three (3) copies

of the Writ of Execution,

tegether with a check in the

$1,300.00 representing the deposit for publication.

Please proceed to advertise this sale of
the sale date.

and advise us of

We are also enclosing the Ori
short form description vursuan

in advertising.

Very truly yours,

Enclosure

LAWYERS SERVICE

che mortgaged

-
Lor

2A-61-1,

sum of

premises

Consideration and

your use
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 7 of 68 PagelD: 545

  

 

FIM, SUCHE, KAHN & SHEPARD, FP.c.
7 Century Drive, Suite 201 2 5
Parsippany, New Jersey 07054 ind
(973) 538-9300 heat?
FHO668 .
Actorney for Plaintift NS
ee

WELLS FARGO BANK, NA AS TRUSTEE SUPERIOR COURT OF NEN JERSEY
UNDER FOOLING AND SERVICING CHANCERY DIVISION-
AGEEMENT DATED AS OF JULY 1, 2006 | SOMERSET COUNTY
SECURITIZED ASSET BACKED
RECEIVABLES LLC TRUST 2006-FR3 DOCKET NO.: F-22089-0¢4
MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2006-FR3 CIVIL ACTION

Plaintiff | WRIT OF BXECUTION
vs.
THOMAS GAGE, 6st als.

Defendant

 

 

  

to the Sheriff of the County of SOMERSET
GREETINGS:
Whereas, on the following date:

Le,

AAAL {Ze 6 SENG

by a certain Judgment in our Supericr Court of New Jersey in a

certain cause pending, wherein the Plaintiff is;

WELLS FARGO BANK, NA AS TRUSTER UNDER POOLING AND SERVICING
AGESMENT DATED AS OF JULY 1, 2006 SECURITIZED ASSET RACKED
RECEIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2008-FR3

and the following named parties are the Befendanits:

mM

THOMAS GAGE

AMERICAN EXPRESS TRAVEL RELATED SERVICES
JAZGER LUMBER & SUPPLY CO., INC.

SUMMIT MEDICAL GROUP

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 8 of 68 PagelD: 546

LUCTA GAGE

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it was erdered and adjudged that certein mortgaged premises, wii
the eppurtenances, in the Complaint, in the said cause

cay

ticularly set forth and described, that is to say:

dd
fi

The mortgaged premises are described as set forth upon
the RIDER ANNEXED HERETO AND MADE A PART HEREOF.

Together, with all and singular the rights, liberties,
privileges, hereditaments an appurtenances thereunto belonging or
in any way appertaining, and the reversion and remainders, rents
issues and profits thereof, and also all the estate, right, title
interest, use, property, claim and demand of the said Defandants
of, in, to and out of the same, be sold, to pay and satisfy in
the first place unto the Plaintifr, the sum cf $814,646.32, being
the principal and interest secured by a certain mortgage dated
February 13, 20906 and given by THOMAS GAGE andl LUCIA GAGE,
together with lawful interest thereon from 09/01/08 tegethercwith— ~
lawfur inmessest thereafter on the etet-sumdue plainsiff until
the sam@ be paid and satisfied and also the costs of the
aforesaid plaintiff, with interest thereon.

And ror that purpose a Writ of Execution should issue

of the County of SOMERSET commanding him

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ale as aforesaid: and that the surplus money arising

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from such sale, if any there bs, should be brought into our said
Court, subject to the further order of the said Court, as by the

said judgment remaining as of record in cur said Superior Court
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 9 of 68 PagelD: 547

more fully appear; and

Me

of New Jersey, at Trenton, doth and ma

S of the said Plaintiff have been duly taxed at

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wht as, the cas

p
a

the following sum: 38 ass oo

Therefore, you are hereby commanded that you cause a
sale to be made of the premises aforesaid, by selling so much of

the same as may be needful and necessary for the purpose, the

ct

said sum of $914,646.32 and the same you do pay to the said

Plaintiff together with lawful interest thereon as aforesaid, and

the sum aforesaid of cests with interest thereon; and that you

have the surplus money, if any there be, before our said Superior

Court of New Jersey aforesaid, at Trenton, New Jersey, within

thirty (30) days after sale; if no sale, writ returnable within

twenty-four (24) months, pursuant to R. 4:59-1L(a), to abide the

Further order of the said Court, according to the judgment

aforesaid; by certificate under your hand, of the manner in which

you have executed this writ, together with this writ.
Mary C. Jacobson, P.J. Ch.
WITNESS, the Honorable ot MSR SNARD OTPER,

Judge of the Superior Court at Trenton, New Jersey, fee ae
Paco - é

this Am day or Apr f 2h02.

 

fd
sBhieER Ht, PE REZ ES
Acting Clerk of So 0 oY Ay

 

BY:

 

Nicholas J. Canova JENNIFER M. PEREZ
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 10 of 68 PagelD: 548

SCHEDULES "A"

All that certain tract or parcel of land and premises situate,
lying and being in the Township of Warren, County of Somerset and
State of New Jersey.

Also known as Tax Lot 18 in Block 86.01 on the Tax Assessment map
of the Township of Warren.

More commonly known as 51 HILLCREST BLVD, WARREN, NJ, 07059.

BENG ingen and dalgeerd @ Lol) @ shew co oop antiie) Rep of Property aicebed in Waren
Tapnakia, demoed nea the Cy of Mamiedd, Hew Jemzy, Prgaty of tie Sine Reagy ond laprvens
Company? fied on Aeuct 2, 1975 on ep Ne 16-2,

FOR INFORMATIONAL PLR POSES CMLY: Abo brown as Lot 14 in Block 24.9) on the Towns of Wasa
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 11 of 68 PagelD: 549

SHORT FORM DESCRIPTION
The property to be sold is located in the Township of WARREN,
County of SOMERSET and State of New Jersey.

Commonly known as: 51 HILLCREST BLVD, WARREN, Nod 07059.
Tax Lot No. 18 in Block No. 86. 0

Dimension of Lot Approximately: 1001955 4.4800

Nearest Cross Street: ISABELLA WAY
fy stad ty Wareg

SENG ‘cova wd daizuted 2g Lot 30 3 town co map cnlithd "Mig of Prope
Townakig, Somaret maar >the Clty of Plaindlall, New Jessey, Procerty of the Kling Realty and loprovenant

Company’ fled on Augen ?, | 1433 oa Map No, 162,

FC INFORMATIONAL PURPOSES ONLY: Also ‘rove 25 Lot 18 fm Block $4.01 09 lhe Township of Waren
Tas bea,

 

 

   

"THE SHERIFF HEREBY RESERVES THE RIGHT TO ADJOURN TH Is SALE
WITHOUT FURTHER NOTICE THROUGH PUBLICATION."

PRIOR LIENS /ENCUMBRANCES

SEWER OPEN + PENALTY $340.10

2007 SEWER 3°° PARTY LIEN SOLD ON 12/3/08, CERT $663.85

= 58-964

TOTAL AS OF April 26, 2010: q, ‘4 a5
os (CO ‘

Surplus Money: ff after the sale and satisfaction of the mortgage

debt, including costs and expenses, there remains any surplus

money, the money will be deposited into the Superior Court Trust
Fund and any person claiming the surplus, or any part thereof,
may file a motion pursuant to Court Rules 4:64-3 and 4:57-2
stating the nature and extent of that person's claim and asking
for an order directing payment of the Surplus money. The Sheriff
ox other person conducting the sale will have information
regarding the surplus, if any.
Case 3:11-cv-00862-FLW-TJB Docurhampeadiseidd 22/20/11 Page 12 of 68 PagelD: 550
NOTICE TO RESIDENTIAL TENANTS OF RIGHTS DURING FORECLOSURE

A FORECLOSURE ACTION HAS BEEN FILED CONCERNING 5! HILLCREST BLVD.
WARREN, NJ 07059, AND THE OWNERSHPP OF THE PROPERTY MAY CHANGE AS A
RESULT.

UNTIL OWNERSHIP OF THE PROPERTY CHANGES OR YOU ARE OTHERWISE
INFORMED BY THE COURT OR THE MORTGAGE HOLDER, YOU SHOULD CONTINUE TO
PAY RENT TO THE LANDLORD OR TO A RENT RECEIVER, IF ONE IS APPOINTED BY THE
COURT. YOU SHOULD KEEP RECEIPT S OR CANCELED CHECKS OF YOUR RENT
PAYMENTS. IF YOU ARE NOT SURE HOW OR WHERE TO PAY RENT, SAVE YOUR RENT
MONEY SO THAT YOU WILL HAVE IT WHEN THE OWNER DEMANDS IT. NONPAYMENT
OF RENT IS GROUNDS FOR EVICTION.

FORECLOSURE ALONE IS GENERALLY NOT GROUNDS TO REMOVE A BONA FIDE
RESIDENTIAL TENANT. TENANTS WHO WANT TO STAY IN THEIR HOMES CAN BE
REMOVED ONLY THROUGH A COURT PROCESS, WITH LIMITED EXCEPTIONS, THE NEW
JERSEY “ANTI-EVICTION ACT” PROTECTS RESIDENTIAL TENANTS’ RIGHTS TO REMAIN
IN THEIR HOME, THIS LAW INCLUDES PROTECTION FOR TENANTS WHO DO NOT HAVE

WRITTEN LEASES,

IT IS UNLAWFUL FOR ANYONE TO TRY TO FORCE YOU TO LEAVE YOUR HOME
OUTSIDE THE COURT PROCESS, INCLUDING BY SHUTTING OFF UTILITIES OR FAILING TO

MAINTAIN THE PREMISES.

[Note: Appendix XTI-K adopted November 17, 2009 to be effective immediately.]
- RUA A198) FeO

 

 

OTS ALAC VS Cenc oS Diaie OF Mow 3 Printed oY ALL-SiAis LeGALw
To tearasesiksil rey; 00862- FLW 138 Baar ep aUARAOD Pa Page Sa si Rage Dstt tne.
$06,222.95 0
FHOEGR (STATEMENT OF PRIOR MORTGAGES, LIENS OF ENCUM
. , FOR
; ‘ SHERIFF’S DEEDS
(46: 13-6.1)

 

 

 

 

   

 

 

 

 

 

To Be Recorded With Deed Pursuanttoc. 49. PL. 1968. as amended, and c.225.P,.L. 1879
Fa eee ee ee ee St
STATE OF NeW JERSEY SOR RECORDER'S USE ONLY
, FOR HEPORDES’S Use ONL?, i
Ss: Consideration $ Slat {OOD $255
COUNTY OF MORRIS Reelty Transfer Fee s_UASTO: eo
Dace By ie
fate {eer 2 iO BY _ AU
IMPORTANT NOTE; ' ae a SES
This form is to be ailached ic-ail Sheriff's Deeds not olherwise exempt pursuant to NJ.S.A, 46:15-10, when presented to the County
Clerk or Regisier of Deeds for Recording. One of the following blacks MUST be checked: ,
CL] NO PRIOR MORTGAGES OR LIENS ARE OUTSTANDING. .

4 PRIOR MORTGAGES OR LIENS OUTSTANDING AND NOT EXTINGUISHED BY THIS SALE ARE AS LISTED Di
ECTION 2 BELOW,

er

(1) PARTY OF LEGAL REPRESENTATIVE
WELLS FARGO BANK, NA AS TRUSTEE UNDER POOLING AND SERVICING AGEZMENT DATED AS OF JULY “ atte
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2$06-FR3 MORTGAGE PASS-THROUGH CERTIFICAT
SERIES 2006-F'RG
{Plain

COLORES DE ALMEIDA
(Legal Representative far Plaintiff)

("Legal representative” is to be imerpreted oreadly lo include any person actively and responsibly participating in the transaction, such as but aot limited to: an
alcmey Tepresenting one of the garlies; an anemey represeniing one of the panies: a closing officer of a tills company cr lending instiwwiicn participating in the aunsacticn; a
nolder cf power of auomey from plaintiff.)

(2) CONSIDERATION
Desonert states that. with respect lo the deed hereio annexed, thera follows the name or names of all mortgagess anc other holders of

encumbrances constituting "consideration" as defined in th act to which this act is a supplement (C.46:15-3 (c)), to which such sale shail be
subject. Such prior morigages, liens and encumbrances are as follows:

 

NAME OF SECURED PARTY CURRENT AMOUNT DUE
2007 SEWER 3° PARTY LIEN SOLD ON 12/3/08, CERT # SS-964 $663.85
TOTAL AS OF April 26, 2010: 3663.85

NOTE: The amount of consideration en which the Realty Transfer Fee shail be calculated shall include both the total listed above and the
amount bid at the sale as set forth in the Sheriffs Deed

O
Deponenl makes this Affidavit to induce the County Clerk or Risisier of Deedsyip recore esd rant
herewith in accordance with the provisions of ¢.4¢. P.L. 1968, 8s  anegded, and ? 2

ee

Name aad address af Deponent

    

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133 3 Su
Stn diy of April, 2010

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eo DOLORES DE ALMEIDA
# FEIN, SUCH, KAHN & SHEPARD, P.C.

Me nals 38 J). Ganews 7 Century Drive, Suite 201
Parsippany, Mew Jersey 07054

S NJ ATTORNEY AT LAW

 

 

 

 

 

 

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 14 of 68 PagelD: 552

EXHIBIT B
SUPSSUCR DGOURUOSOLEFLWEREEY Document 37-1 Filed 12/20/11 Page 15 of 68 PagelD: 553
CHANCERY DIVISION
SOMERSET COUNTY
DOCKET NO. F-22089-08
SHERIFF'S SALE
NO. 9328
Between

WELLS FARGO BANK, NA as trusiee under Pooling and Servicing Agreement Dated as of July 1, 2006 Securitized
Asset Backed Receivables LLC Trust 2006-FR3 Mortgage Pass-Through Certificates, Series 2006-FR3

PLAINTIFF
V5.
THOMAS GAGE; AMERICAN EXPRESS TRAVEL RELATED SERVICES; JAEGER LUMBER & SUPPLY CO., INC.
SUMMIT MEDICAL GROUP; LUCIA GAGE

DEFENDANTS

Writ of Execution for sale of morigaged premises.
By virtue of the above stated Writ of Execution to me directed and delivered | will expose for sale at public vendue on

TUESDAY THE 8th DAY OF JUNE, 2010

between the hours of two and five o'clock in the afternoon of said day, that is to say at 2:00 P.M. prevailing time at the
Freehoiders Meeting Room, Adminisiration Building, 20 Grove Street, Somerville, New Jersey to wit:

All that tract or parcel of land, situate. lying and being in the Township of Warren, County of Somerset and State of New
Jersey:

Being known as Tax Lot No. 18 in Block No. 86.01; Dimensions of property: (approximately) 100 feet by 1,955 feet; 4.48
Acres, Nearest Cross Street: Isabella Way. Being known and designated as Lot 50 as shown on map entitled “Map of
Property situated in Warren Township, Somerset near the City of Plainfield, New Jersey, Property of the Kline Realty and
Improvement Company” filed on August 2, 1923 on Map No. 16-B.

PREMISES COMMONLY KNOWN AS:
51 HILLCREST BOULEVARD
WARREN, NEW JERSEY

Amore complete metes and bounds description can be found in the Office of the Somerset County Sheriff.

Subject to Sewer open plus penalty in the amount of $340.10. Also subject to 2007 Sewer Third Party Lien Sold on
12/3/2008, Ceri # SS-964 in the amount of $663.85. Total as of April 26, 2010: $1,003.95.

Together with all singular rights, liberties, privileges, hereditaments, and appurtenances thereunto belonging or in
anywise appertaining, and the reversion and remainders, rents, issues and profits thereto.

Surplus Money: If after the sale and satisfaction of the mortgage debt, including costs and expenses, there remains any
surplus money, the money will be deposited into the Superior Court Trust Fund and any person claiming the surplus, or
any part thereof, may file a motion pursuant to Court Rules 4:64-3 and 4:57-2 stating the nature and extent of that
person's claim and asking for an order directing payment of the surplus money. The Sheriff or other person conducting
the sale will have information regarding the surplus, if any.

Amount of Judgment to be satisfied $814,646.32 plus interest, cost, printers’ fees, Sheriffs fees and commission.

The purchaser shall pay 20% of purchase price at end of sale in cash, certified check, cashier's check or treasurer's
check and sign acknowledgment of purchase. The Sheriff reserves the right to adjourn this sale for any length of time
without further advertisement as provided for by law.

FRANK J. PROVENZAND, SR.
SHERIFF

DATED: April 13, 2010

Fein, Such, Kahn & Shepard, P.C.

7 Century Drive, Sutte 201
Parsippany, New Jersey 07054-97511
 

 

 

 

 

 

 

 

 

 

 

 

 

 

3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 16 of 68 PagelD: 554
Case Docket # F-22086.08 Returnable: pri 13,2012
03278 Judgement # Division: Chancery
Type of Writ: General County Somerset
Type of Service: Posting Received: May 07, 2010
Pit? Wells Fargo Bank, NA as trustee under Pooling and
Def Thomas Gage; et al
Publications
o 1 s S
Original Sale Date: gune 08,2010 1-_9/9_2. Seo 3, 7 4. %
Sale Date: 1- 2 3- 4.
Sale Date: 1- 2- 3- a.
Publications dst 2nd ard 4th
Courier-News s 263,80 5 $ S
Recorder Publisher $ J {i+ G3 $ $ 3
Somerset Spectator $ $6806 $ $ $
Totals: $__! OW | ms $ $
Priors Sewer $663.85
Damages: $814,646.32 Costs: $6,255.00 Mileage: Warren $4.80 $106.80
Coniraci Interest From: To: Amt: $0.00
Contract Pct: 0.000% Gn: $0.00 Lawiul Interest From: Sepiember 01, 2006
Additional Sums: $ Int From:
$ Int From:
$ Int From:
$ Int From:
$ int From:
$ Int From:
Monies Received
Date: 3-7 -f08 CheckNo. /S@64Z€8? Amount:3 / 300. 00
Date: Check Ne. Amount: $

 

Date: Check No. Amount: $
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 17 of 68 PagelD: 555

EXHIBIT C
Ease BLO VO8EE. erie Bocuiigt SPE Pied 12/20/11 Page 18 of 68 PagelD: 556

heriff’s Report

 

SHERIFF NUMBER § - 9328
Type of Service: Posting

 

Location of Service

 

Lot No. 18 in Block 86.01
41 Hillcrest Boulevard
Warren

 

Office Use Only —~ Letter: Notice:

 

Gate of Service

SZ halic

Name of Ferson Accepting

 

Time of Service

\ 557

Pasition / Relationship

 

 

[]} Served
(1) Returned

 

 

Telephone Number and Extension

 

 

 

 

Instructions:

Friday, May 07, 2010

Posi the attached advertisement and the copy of the writ on the property listed above.

Original Sale Date 6/8/2010

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attempt { Aitempt Attempt
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Walls Fargo Bank, NA as trustee under Pooling and
Plaintiff _
“ TT
Thomas Gage: et al ao :
Defendani(s) ~~

 

Fein, Such, Kahn & Shepard, P.C.
7 Century Drive, Suite 201
Parsippany NJ 07054-9751
Atty File: FHO668
Aiin: Shari Sefer, Esq.
Attorney

 

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Title” Print Name Badge#
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Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 19 of 68 PagelD: 557

EXHIBIT D
  

Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 20 of 68 Page: 55& one

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Somerset County a Pheriit's Qifice

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aon
Frank J. Provenzano Sr, P.O. Box 3000, Somerville, New Jersey 08876-1262
Sheri? 1847 Sales & Executions
(08) 237-7140 Fax (908) 704-1817 (908) 231714
Application for Adjournment of Sheriff Sale
Name Date of Application
[hones Gace 6/4/10
Street Address of Propeny
Su Niteceesr Revo
Town or Township Phone Number
VA ReeN (Fog) 2/19~CF32
Saie Number Date of Sale Docket Number
G2ee S/2/l0 F-zz0@7_08

 

 

 

Reason for Requesting Adjournment
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Applicant's Signature
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Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 21 of 68 PagelD: 559

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Somerset County “RA . Sheriff's Otfice

   
 

 

Frank J. Provenzano Sr, P.O. Box 3000, Somerville, New Jersey 08875-1262
Sherifi = e & tty a8
a4 Fax (808) 704-7377 Sales & Executions
(908) 234-7740 (908) (808) 231-7144

Aoplication for Adjournment of Sheriff Sale

 

Nama Dats of Application

“Thomas LT GAGE 6 /i8/Zo0i1¢e

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Reason for Requesting Adjournment

 

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Applicant's Signature -

 

 

 

 

 

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Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 22 of 68 PagelD: 560

EXHIBIT E
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 23 of 68 PagelD: 561

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Case 3: Eh Te §2-FLW-TJB Document 374 Filed 12/20/11 Page 29 9 of 68 Pagelio56s ~
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CONDITIONS OF SALEREAD ADREAD SUBJECTTO_ ike nid

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anne os to ihese conditions as announced by the Sheriff were struck off and Sold for the sum oT:

61000 Ve

 

and We -- | promise and agree to comply with the conditions of Sale.

ee }

Deed In Name of: ae o (] COATED

Address:

 

 

 

Dayime Phone Number:

 

 

LJ Deed Assigned

CONDITIONS OF SALE
The conditions of the sale of the Real Estate mentioned and described in the printed advertisement
hereio annexed, mace the 6th of July, A.D. 2010, by me, Thomas L. Przybylski, Sales Coordinator of the
Office of the Sheriff of Somerset County, New Jersey, are as follows, to wit:

1. The highest bidder to be the purchaser.

2, The purchaser will pay 20% of the purchase price at the end of the sale and sign acknowledgement
of purchase. The 20% musi be in cash, certified check, cashier's check, treasurer's check or
money order.

3. If the purchaser fails to comply with any of ihe conditions of the sale the property will be sold a
second time, the former purchaser being held responsible for all losses and expenses, including
but not limited to Sheriffs fees and Sheriff's commission and attorney's fees incurred by the
sheritfs Office, but receiving no benefit from such sale.

4. Sold subject to restrictions of record, which are unknown to me and to unpaid taxes or assessmenis
and such state of facts as an accurate survey would disclose.

5. Deed to be delivered at Sheriff's office one month from date of sale at which time the balance of
purchase money will be required. Balance of purchase price may be paid at any time after the sale

until ihe deed is delivered. Interest on balance is due from the 11th day after sale until final
payment. Defendant has 10 days after the sale to redeem the Property

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Thomas L Przybylski, Sales Coordinator = rchaser’s Siynature

T-(e~ 8

Date

 

 

 

 

FORM TLP-21 Sale# 9328
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Case 3:11-cv-00862-FLW-TJB Document 37-1 Fi
iled 12/20/11 Page 27 of 68 PagelD: 565

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PATER Day (1957-1950)

FEIN, SUCH, KAHN & SHEPARD, P.C.
COUNSELLORS AT LAW

 

7 CENTURY DRIVE, SUITE 201
PARSIPPANY, NEW JERSEY 07044
(9773) $38-9300

 

= a O73) 538-82.3¢
4 SLSO MEMBER OF NY BAR FACSIMILE (973) 538-8234
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5 ALSO MEMRER CT BAP,

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OF Mpa IERSET AS ACTIV TRIAL
ATTCRET

 

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SHERIFF SALE

 

DATE: 07/06/10 TIME: 2:00 DM
RE; WELLS FARGO BANK,

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WR AS TRUSTER UNDER PCOLING AND SERVICING
2006 SECURITIZED ASSET BACKED

RECEIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH CERTIFICATES,

SERIES 2006-FR3 VS. THOMAS GAGE

FILE NO: FROQSsSS. _
DOCKET WO: F-22089-08
SEERIFF NO: 9323

PROPERTY LOCATION:

a. Before you leave for the gale, have Laura A.
officer contact the SHERIFF

hi

Read Announcements a through =, for ©.

51 HILLCREST BLVD, WARREN, Ng 07058

Harlos of our
OF SOMERSET COUNTY to see if the
sale is,still on, adjourned or a bankruptcy filed.

3. You:are te staxt the bidding at $100.00 and step bidding:

at’ $580,000.00, the maximum bidding amount.

FIVE. HUNDRED EIGHTY THOUSAND AND XX/100 DOLLARS

ayer If you are the successful bidder, you will be asked to

some pepers;: Deed to read: WELLE FARGO

BANK, NA AS TRUST

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UNDER POOLING AND SERVICING AGEEMENT DATED AS OF JULY 1, 2006

SECURITIZED .ASSET BACKED RECEIVABLES LLC

TRUST _ 2006-FR3

MORTGAGE PASS-THROUGH CERTIFICATES , SERTES 2006-FRS ,..4837 WATT

AVE. -NORTH HIGHLANDS, CA 95560

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AND FINAL READING.
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SUBSEQUENT INTEREST AND TAXES; CERT 7 SS-3654

 

SUBJEGT -TO..OPEN SEWER IN THE AMOUNT OF $516.61 PLUS PENALTY

AMOUNT OF $653.95 PLUS
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 28 of 68 PagelD: 566

EXHIBIT F
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 29 of 68 PagelD: 567

Leable na. .
Somerset County 7% Sheriff's Office

 

  
 

 

 

rrank J. Provenzano Sr. P.O. Box 3000, Somerville, New Jersey 08876-1262

Sherif Sales & Executions
Fax (908) 704-1817 ales xecutio
(908) 234-7140 (908) (S08) 231-7144

September 15, 2010

Fein, Such Kahn & Shepard, PC
7 Century Drive

Parsippany, NJ 07054

Atin: Angela Kwon

FX 1-973-267-9998

Re: Sheriff Sale Number 9328
Wells Fargo Bank
Vs. Thomas Gage, et al
Docket No. F-22089-08

Dear Ms. Kwon:

Regarding the above captioned sale, listed below are the figures for your records:

Publications oo vcseeveeateevanees $1,046.72
Sheriff's Fees... ceecssscsscessereerseces 191.80
COMMISSION... cccecseeceesceseceseeseereces 18,540.00
veedesseeveeecceeevsgaeeeuesavstesestavesssssennanss $19,778.52
DEDOSIt ce eesecesecescsssscsceevsesecerrens 1.300.00
Balance due Sheriff -.o...ccceecsceee $18,478.52

Upon receipt of balance due Sheriff, the Deed and Report of Sale will be mailed to you.

Very truly yours,
FRANK J. PROVENZANO. SR.
SHERIFF

Thomas L. Przybyiski

Sales Coordinator
TLP/med
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 30 of 68 PagelD: 568

EXHIBIT G
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Case 3:11-cv-00862-FLW-TJB Document’37-1 Filed 12/20/11 Page 31 of 68 PagelD: 569

   

Somerset County Sheriti's Office
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Frank J. Provenzano $7. P.O. Box 3000, Somerville, New Jersey 08876-1262

 

Sheriff +, 7 Sales & Executions
(908} 231-7140 rex L (041817 (908) 231-7144
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7 Century Drive aN
Parsippany, NJ 07054 G
Attn: Angela Kwon

FX 1-973-267-9998

Re: Sheriff Sale Number 9328
Wells Fargo Bank
Vs. Thomas Gage, et al
Docket No. F-22089-08

 

Dear Ms. Kwon:

Regarding the above captioned sale, listed below are the figures for your records:

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Balance due Sheriff... $18,478.52 OIC

Upon receipt of balance due Sheriff, the Deed and Report of Sale will be mailed to you.

Very truly yours,
FRANK J. PROVENZANO. SR.
SHERIFF

Thomas L. Przybylski

Sales Coordinator
TLP/med
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 32 of 68 PagelD: 570

 

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Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 33 of 68 PagelD: 571

EXHIBIT H
Vers reso VCCw

I
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 34 of 68 PagelD: 572

Go All Persong to whom these resents
shall come, or whom they may Concern:

I, Frank ¥, Provenzano, Sr., Sheriff of the County of Somerset in the State of New
Jersey, send greetings:

WHEREAS, on the Thirteenth day of April, in the year of Our Lord Two Thousand
Ten, a certain Writ of Execution was issued out of the Superior Court of New Jersey-
Chancery Division-Somerset County-Docket No. F-22089-08 directed and delivered
to the Sheriff of the said County of Somerset, and which said writ is in the words or to the
effect following, that is to say:

NEW JERSEY, to wit: THE STATE OF NEW JERSEY to the Sheriff of the County
of Somerset, GREETING:

WHEREAS, on the following date, April 13, 2010, by a certain judgment in our
Superior Court of New Jersey, in a certain cause therein pending, wherein the plaintiff is
Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage Pass-
Through Certificates, Series 2006-FR3, and the following named parties are the
defendants: Thomas Gage; American Express Travel Related Services; Jaeger Lumber &
Supply Co., Inc.; Summit Medical Group; Lucia Gage, it was ordered and adjudged that
certain mortgaged premises, with the appurtenances, in the Complaint in the said cause
particularly set forth and described, that is to say:

All that certain tract or parcel of land situate, lying and being in the Township of
Warren, County of Somerset and State of New Jersey, more particularly described as
follows:

Also known as Tax Lot 18 in Block 86.01 on the Tax Assessment map of the
Township of Warren.

More commonly known as $1 Hillcrest Blvd., Warren, NJ 07059.

Being known and designated as Lot 50 as shown on map entitled “Map of Property
situated in Warren Township, Somerset near the City of Plainfield, New Jersey, Property
of the Kline Realty and Improvement Company” filed on August 2, 1923 on Map No.
16-B.

‘o/N/p
Tet

_ (CD

Deed prepared by: _* | OC :
Thomas L. Przybylski
Sales Coordinator

Page 1
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 35 of 68 PagelD: 573
TOGETHER with all and singular the rights, liberties, privileges, hereditaments and

appurtenances thereunto belonging, or in anywise appertaining, and the reversion and
remainders, rents, issues and profits thereof, and also all of the estate, right, title, interest,
use, property, claim, and demand of the said defendants of, in, to and out of the same, be
sold, to pay and satisfy in the first place unto the plaintiff, the sum of $814,646.32, being
the principal and interest secured by a certain morigage dated February 13, 2006 and given
by Thomas Gage and Lucia Gage, together with lawful interest from 9/1/08, until the same

be paid and satisfied and also the costs of the aforesaid plaintiff, with interest thereon.

Paga 3
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 36 of 68 PagelD: 574
And that, for that purpose a Writ of Execution should issue, directed to the Sheriff of

the County of Somerset, commanding him to make sale as aforesaid; and that the surplus
money arising from such sale, if any there be, should be brought into said court, subject
to the further order of the said court, as by the said judgment remaining as of record in our
Superior Court of New Jersey at Trenton, doth and may more fully appear; and whereas,
the costs of the said Plaintiff have been duly taxed at the following sum: $8,255.00.

THEREFORE, you are hereby commanded that you cause to be made of the premises
aforesaid by selling so much of the same as may be needful and necessary for the purpose,
the said sum of $814,646.32 and the same you do pay to the said plaintiff together with
lawful interest thereon as aforesaid, and the sum aforesaid of costs with interest thereon,
and that you have the surplus money, if any there be, before the Superior Court of New
Jersey, aforesaid at Trenton, within thirty (30) days after sale and if there be no sale, this
Writ to be returnable within twenty-four (24) months pursuant to R. 4:59-1(a); and to
abide the further Order of said court, according to the judgment aforesaid; and you are to
make return at the time and place aforesaid, by certificate under your hand, of the manner
in which you have executed this our Writ, together with this Writ.

WITNESS, the HONORABLE Mary C. Jacobson, P.J.Ch. of the Superior Court, at
Trenton, aforesaid, this 13th of April, 2010.

és/ Jennifer M. Perez
JENNIFER M. PEREZ
Acting Clerk of Superior Court

 

By: /s/ Nicholas J. Canova
NICHOLAS J. CANOVA

 

Page 4
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 37 of 68 PagelD: 575
AS by the Record of said Writ of Execution entered in the Records of Executions

issued in the Superior Court Clerk's Office, 6156F-10, and examined by me.

‘s/ Jennifer M. Perez

JENNIFER M. PEREZ
Acting Clerk of Superior Court

 

AND WHEREAS, I, the said Frank J. Provenzano, Sr., as such Sheriff, as aforesaid,
did in due form of law, advertise the said lot of land and premises to be sold under and by
virtue of the said writ of execution at public vendue, to be held at the Sheriff's Office in
Somerville, New Jersey, on TUESDAY, the 8th day of June, 2010,* at two o'clock P.M,
prevailing time of said day by advertisement signed by myself, and posted in the Sheriff's
Office and also on the property which was in the Township of Warren in which the said
land lies, at least three weeks next before the time appointed for selling the same, and also
published in the Courier News, Somerset Spectator and Echoes-Sentinel, three newspapers
printed and published in the said County, where the said land is situated, and circulating
in the neighborhood of said jand, for at least four weeks, successively, once in each week
next preceding the said time one of which said newspapers is printed and published in

Franklin the mest populated Municipality of said County.

*Sale originally scheduled for Tuesday,
June 8, 2016, but was adjourned
until Tuesday, July 6, 2010,
and held at that time.

at which last-named time and place I did accordingly offer and expose the said lot of land

and premises for sale at public vendue, under and by virtue of the said writ of Execution.

Paga 5
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 38 of 68 PagelD: 576

WHEREUPON: Jeffrey Weinberg, bidding for Welis Fargo Bank, NA as Trustee under
Pooling and Servicing Agreement dated as of July 1, 2006 Securitized Asset Backed
Receivables LLC Trust 2006-FR3 Morigage Pass-Through Certificates, Series 2006-FR3,
4837 Watt Avenue, North Highlands, CA 95660, did bid the sum of Four Hundred Sixty-
one Thousand Dollars and No Cents ($461,000.00) on its behalf

and no other person bidding as much, I did then and there openly and publicly, in due form
of law, between the hours of two and five in the afternoon, strike off and sel] the said lot
of land and premises for the said sum of Four Hundred Sixty-one Thousand Dollars and
No Cents ($461,000.00) to the said Wells Fargo Bank, NA as Trustee under Pooling and
Servicing Agreement dated as of July 1, 2006 Securitized Asset Backed Receivables LLC
Trust 2006-FR3 Mortgage Pass-Through Certificates, Series 2006-FR3, 4837 Watt
Avenue, North Highlands, CA 95660, being then and there the highest bidder for the
same.

NOW, THEREFORE, KNOW YE, that I the said Frank J. Provenzano, Sr., as such Sheriff
aforesaid, under and by virtue of said Writ of Execution, and in execution of the power
and trust in me reposed, and also for and in consideration of the said sum of Four Hundred
Sixty-one Thousand Dollars and No Cents ($461,000.00) to me in hand paid, the receipt
whereof I do hereby acknowledge and therefrom acquit, exonerate and forever discharge
the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3

its successors and assigns, heirs, executors and administrators, have pranted, bargained,
sold, assigned, transferred and conveyed, and by these presents do grant, bargain, sell,
assign, transfer, and convey unto the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3

its successors and assigns, heirs and assigns, all and singular, the said lot of land and
premises, with the appurtenances, privileges and hereditaments thereto belonging or in
anyway appertaining: TO HAVE AND TO HOLD the same unto the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3

iis successors and assigns, heirs and assigns, to its only proper use, benefit and behoof
forever, in as full, ample and beneficial a manner as by virtue of the said Writ of
Execution, | may, can, or ought to convey the same.

And I, the said Frank J. Provenzano, Sr., for myself, my heirs, executors and
administrators, do hereby covenant, promise and agree to with the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3

its successors and assigns, heirs and assigns, that I have not, as such Sheriff aforesaid,
done or caused, suffered or procured to be done, any act, matter or thing whereby the
estate hereby intended to be conveyed in and to the said lot of land and premises, with the
appurtenances, is, may, or can be changed, charged, encumbered or defeated in any way
whatever.

Pago 6
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 39 of 68 PagelD: 577
IN WITNESS WHEREOF, |, the said Frank J. Provenzano, Sr, as such Sheriff

os
aforesaid, have hereunto set my hand and seal this Fourth ay, of ¢ October, “e

\
Signed, sealed and delivered f. (ye

in the presence of

 

 
    

Frank J. Provenzano, Sr., Sheriff (L.8.}

font

 

Thomas C. Miller

NEW JERSEY, SOMERSET COUNTY, ss.

   

Pehentt ~~

On this Fourth day of October, 2010 before me, the subscriber, An Atiarkey it Law
of New Jersey, personally appeared Frank J, Provenzano, Sr., Sheriff of the County of
Somerset aforesaid, who is | am satisfied, the grantor in the within indenture named, and
having first made known to him the contents thereof he did thereupon acknowledge that
he sign, sealed and delivered the same as his voluntary act and deed, for the use and
purposes therein expressed, and the full and actual consideration paid or to be paid for the
transfer of title to realty evidenced by the within deed, as such consideration is defined

in P.L. 1968, ¢ 40, Sec. 1 (c) is $461,000.00. Af

/ Thomas C. Miller
An Attorney at Law of New Jersey

I, Frank J. Provenzano, Sr., Sheriff of the County of Somerset, State of New Jersey
do solemnly swear that the land and real estate described in this deed made by me to Wells
Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of July 1,
2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Morigage Pass-Through
Certificates, Series 2006-FR3, 4837 Watt Avenue, North Highlands, CA 95660, was by
me sold by virtue of a good and subsisting execution, as is therein recited, that the money
ordered to be made has not been, to my knowledge or belief, paid or satisfied; that the
time and place of the sale of said land and real estate was by fe~duly advertised as
required by law, and that the same was cried off and sold to ‘bona nde Bp rehaser for the

best price that could be obtained. fe

Frank J. Provenzano, Sr., Sheriff

Sworn before me, An Attorney at Law of New Jersey, on this Fourth day of October
in the year of our Lord, Two Thousand and Ten. And I do certify that I have examined
the above deed mentioned, and do approve the same and order it to be recorded as a good
and sufficient conveyance of the lands and real estate therein described.

 

(_-" Thomas C. Miller
An Attomey at Law of New Jersey

Pago 7
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 40 of 68 PagelD: 578

Sale No. 9328

Deed

 

Frank J. Provenzano, Sr.
Sheriff of Somerset County
To

Wells Fargo Bank, NA as Trustee under
Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed
Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3
4837 Watt Avenue
North Highlands, CA 95660

 

Consideration $461,000.00
Dated, October 4, 2010

 

Received in the Clerk's Office of the

 

 

County of Somerset, on the day
of , 204

at and recorded
in Book of Deeds for

said County, Page

Clerk.

Poge 6
LUPE SUE UE ENVY od oey

Case 3:11-cv-00862-F LW" T JB Document 37-1 Filed 12/20/11 Page 41 of féPBayebsA

Wells Fargo Bank, NA as Trustee under Pooling and Servicing
Agreement dated as of July 1, 2006 Securitized Asset Backed Returnable April 13, 2012
Receivables LLC Trust 2006-FR3 Mortgage Pass-Through
Certificates, Series 2006-FR3

Plaintiff Fein, Such, Kahn & Shepard, PC
7 Century Drive, Suite 20}
Parsippany, NJ 07054

and

Thomas Gage; American Express Travel Related Services;
Jaeger Lumber & Supply Co., Inc.; Summit Medical Group;

Lucia Gage Docket No. F-22089-08
Defendants

 

1st Place $ 814,646.32
Cost Taxed at: $,255.00
Contract Interest From:

Lawful Interest From: 9/1/08 : 7/6/10 84,758.84
Additional Sums: 0

2nd Place Dam
Cost Taxed at:
Contract Interest From:

Lawful Interest From:

3rd Place Damages

Cost Taxed at:

Contract Interest From:

 

Lawtul In From:

 

| Tota | $907,660.16 |

By virtue of the above stated writ of Execution to me directed, | did sell at public vendue, at the Administration
Building, in Somerville on July 6, 2010 pursuant io advertisement, all that tract or parcel of land and premises,
described in said writ to Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage Pass-Through Certificates,
Series 2006-FR3, 4837 Watt Avenue, North Highlands, CA 95660, represented by Jeffrey Weinberg, being the

highest bidder for the same.

 

 

 

 

 

 

 

Property sold for $461,000.00
Sheriff's Fees

Levy and retum 2.0.0... cece eect eee eee eee 54.80

Posting Sale Notices... 202... eee eee 20.00

Advertising Property For Sale .....2.....22.20.02---- 20.00

Selling oi. - cee eee tee tee eee eee eee 5.00

SIMIGMIOMT cece eae aaa £4.00

Deed oe eee eee 75.00

Certifying to Deed 2.2.2.0... eee eee 1.50

Postage & Additional Copies ........... 000002202 eee 5.50

Adjournment 22.0.0... 0 cee eee eee eee eee eee eens 0

Commission 2.2... cece eee ae eee 18,540.00

Printers Bill 2... cece a ee cee erent e nena 1,046.72

Total 319,778.52

To Piatt occ eee ene eee $441,221.48
To Superior Court... case eect nea ae 0

 

This is to Certify, That the above statement is correct, that ] did duly advertise and sel? the property described in the above stated execution,
as required by Inw, and the proceeds af said sale, after deducting therefrom Sheriff's Fees, amount to the sum of NONE,

“

to,

July 6, 2010 L

Frank J, Provenzano, Sr., Sheriff
Sale No. 9328

   

Somerville, New Jersey
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 42 of 68 PagelD: 580

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State of New Jersey }
County of Somerset

I, Frank J. Provenzano, Sr., of full age, being duly sworn on my oath according to law depose and say that the
statement is correct, that I did duly advertise and sell the land and premises described in the above stated
execution, as required by lew to Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated
as of July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage Pass-Through
Certificates, Series 2006-FR3, 4837 Watt Avenue, North Highlands, CA 95660 for the sum of Four Hundred Sixty-
one Thousand Dollars and No Cents (3461,000.00) cash, and that sum was the highest and best price that such

lands and premises would bring in cash at the time of sale,

 

 

Frank J. Provenzano, Sr., Sheriff

Sworn and Subscribed to before me

this day of 200

 

Notary Public of New Jersey
ASW MSICEIE CGM = SUL 2 US LU

FHQ66 ase 3:11-cv-00SSAEEMENS BF BRUEARS PACES: /EEENS OB BN CUMBRANEBBES PagelD: 581

SHERIFE’S DEEDS mobs
(46:15-6.1) ue
To Be Recorded With Deed Pursuant to c. 49, PL. 1968, as amended, and ¢.225,P.L. 1979

 

 

 

 

 

STATE OF NEW JERSEY
FOR RECORDER‘S USE ONLY
53: Consideration $
COUNTY OCF MORRIS Realty Transfer Fee §$
a Date By.
Date By
IMPORTANT NOTE:

    
    

This form is to be attached to all Sheriff's Deeds not otherwise exempt pursuant to N.J.S.A. 46:15-10, when presented to the County
Clerk or Register of Deeds for Recording. One of the following blocks MUST be checked:

U1 NO PRIOR MORTGAGES OR LIENS ARE OUTSTANDING.

a“
& PRIOR MORTGAGES OR LIENS OUTSTANDING AND NOT EXTINGUISHED BY THIS SALE ARE AS LISTED IN
SECTION 2 BELOW.

(1) PARTY OF LEGAL REPRESENTATIVE
WELLS FARGO BANK, NA AS TRUSTEE UNDER POOLING AND SERVICING AGEEMENT DATED AS OF JULY 1, 2006
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2006-FR3
{Plaintiff}

DOLORES DE ALMEIDA
(Legal Representative for Plaintiff}

(“Legal representative” is to be interpreted broadly to include any person actively and responsibly participating in the transaction, such as but not limited to: an
attomey representing one of the parties; an attamey representing one of the parties; a closing officer of a title company or lending institution participating in the transaction; a
holder of power of attomey from plaintiff.)

{2) CONSIDERATION

Deponent states that, with respect to the deed hereto annexed, there follows the name or names of all mortgagees and other holders of
encumbrances constituting “consideration” as defined in the act to which this act is a supplement (C.46:15-5 (c)), to which such sale shall be
subject. Such prior mortgages, liens and encumbrances are as follows:

 

 

NAME OF SECURED PARTY CURRENT AMOUNT DUE
2007 SEWER 3"° PARTY LIEN SOLD ON 12/3/08, CERT # SS-964 $663.85
TOTAL AS OF April 26, 2010: $663.85

NOTE: The amount of consideration on which the Realty Transfer Fee shall be calculated shall include both the total listed above and the
amount bid at the sale as set forth in the Sheriff's Deed.

   

Deponent makes this Affidavit to induce the County Clerk or Register of Deeds ccept the fee submitted

Subscribed and sworn to before me this
26th day of April, 2010

 

Name and address of Depanent

 

. DOLORES DE ALMEIDA
fo FEIN, SUCH, KAHN & SHEPARD, P.C.
ANJ ATTORNEY AT LAW Nicholas J. Canova 7 Century Drive, Suite 201
Attorney ae ters ey Parsippany, New Jersey 07054

State o

    

 

 

FOR OFFICIAL USE ONLY
This space for use of County Clerk or Register of Deeds
Instrument Number. County.

AMOUNT BID AT

SHERIFF'S SALE

H ( é | Deed Number. Book. Page
S j boo ‘ a0 Beed Dated, Date Recorded

 

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 44 of 68 PagelD: 582

EXHIBIT |
 

 

Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 45 of 68 PagelD: 583

Recorded:
Book:

instrument No,:

CONSIDERATION:

EXEMPTION:
NJ REALTY XFER FEE:

Recorder:

 

BRETT A. RADI
SOMERSET COUNTY CLERK
20 GROVE STREET

P.O. BOA 3000
SOMERVILLE, NJ 08876-1262

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GPR 6366 Page: 2898-2906

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DEED S9PGS $113.00
$461,000.00

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Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 46 of 68 PagelD: 584

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Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 47 of 68 PagelD: 585

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SUMERGET COUNTY

2G Grove 8treat
SOMERVILLE. Md C8876

(909) 2351-7006

 

SUED 7D:
IN: SUCH. KAHN & SHEPARD PC

 

ReGelr? # OS1aa2
BATE

 

 

ae 10/28/2010

TINE BOGK PASE FEE
O2:12 Pa 6366 2898 2010050577
DEE 13.00
MJ REALTY XFER 32800.60
Total Due: B45 915.40

LagH 0.60
GHELK 172041 173.00
CHECK 10277 33900,00

Total Payments: $35: 915.60
THANK YEU
Bret? &, Fant
COUNTY CLERK
Deeuty: MOUTNER
 

‘ ; §F eth S Ce. ApS
Case $:1-cv-00862-F WE eee ees Filed 12/20/11 Page 48 of 68 PagelD: 586

On All Bersons to whom ihese Presents
shell come, or whom they may Concern:

1, Frank J. Provenzano, Sr., Sheriff of the County of Somerset in the State of New
Jersey, send greetings:

WHEREAS, on the Thirteenth day of April, in the year of Our Lord Two Thousand
Ten, a certain Writ of Execution was issued out of the Superior Court of New Jersey-
Chancery Division-Somerset County-Docket No. F-22089-08 directed and delivered
to the Sheriff of the said County of Somerset, and which said writ is in the words or to the
effect following, that is to say:

NEW JERSEY, to wit THE STATE OF NEW JERSEY to the Sheriff of the County
of Somerset, GREETING:

WHEREAS, on the following date, April 15, 2010, by a certain judgment in our
Superior Court of New Jersey, in a certain cause therein pending, wherein the plaintiff is
Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage Pass-
Through Certificates, Series 2006-FR3, and the following named parties are the
defendants: Thomas Gage; American Express Travel Related Services; Jaeger Lumber &
Supply Co., Inc.; Summit Medical Group; Lucia Gage, it was ordered and adjudged that
certain mortgaged premises, with the appurtenances, in the Complaint in the said cause
particularly set forth and described, that is to say:

All that certain tract or parcel of land situate, lying and being in the Township of
Warren, County of Somerset and State of New Jersey, more particularly described as
follows:

Also known as Tax Loi 18 in Block 86.01 on the Tax Assessment map of the
Township of Warren,

More commonly known as 51 Hillcrest Blvd., Warren, NJ 07059.

Being known and designated as Lot 50 as shown on map entitled “Map of Property
situated in Warren Township, Somerset rear the City of Plainfield, New Jersey. Property

of the Kline Realty and Improvement Company” filed on August 2, 1923 on Map No.

68. LOE

CLERK
BRET] 8.8892 county
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roc Tae
Deed prepared by: — [| 4 Cfo +“ ote 2 evenri: a

Thornas L. Przybylski Phe 3008 8050577
Sales Coordinator

Page 7

 

 
, Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 49 of 68 PagelD: 587

‘TOGETHER with all and singular the rights, liberties, privileges, hereditaments and
appurtenances thereunto belonging, or in anywise appertaining, and the reversion and
remainders, rents, issues and profits thereof, and also all of the estate, right, title, interest,
use, property, claim, and demand of the said defendants of, in, to and out of the same, be
sold, to pay and satisfy in the first place unto the plaintiff, the sum of $814,646.32, being
the principal and interest secured by a certain mortgage dated February 13, 2006 and given
by Thomas Gage and Lucia Gage, together with law ful interest from 9/1/08, until the same

be paid and satisfied and also the costs of the aforesaid plaintiff, with interest thereon.

Page 2

 

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 50 of|68 PagelD: 588

And thal, for that purpose a Writ of Execution should issue, directed to the Sheriff of
the County of Somerset, commanding him to make sale as aforesaid: and that the surplus
money arising from such sale, if any there be, should be brought into said court, subject
to the further order of the said court, as by the said judgment remaining as cf record in our
Superior Court of New Jersey at Trenton, doth and may more fully appear; and whereas,
the costs of the said Plaintiff have been duly taxed at the following sum: $8,255.00.

THEREFORE, you are hereby commanded that you cause to be made of the premises
aforesaid by selling sa much of the same as may be needful and necessary for the purpose,
the said sum of $814,646.32 and the same you do pay to the said plaintiff together with
lawful interest thereon as aforesaid, and the sum aforesaid of costs with interest thereon,
and that you have the surplus money, if any there be, before the Superior Court of New
Jersey, aforesaid at Trenton, within thirty (30) days after sale and if there be no sale, this
Writ to be returnable within twenty-four (24) manths pursuant to R. 4:39-1(a); and to
abide the further Order of said court, according to the judgment aforesaid; and you are to
make return at the time and place aforesaid, by certificate under your hand, of the manner
in which you have executed this our Writ, together with this Writ.

WITNESS, the HONORABLE Mary C. Jacobson, P.J.Ch. of the Superior Court, at

Trenton, aforesaid, this 13th of April, 2010.

 

/s/ Jennifer M. Perez
JENNIFER M. PEREZ
Acting Clerk of Superior Court

By: /s/ Nicholas J. Canova
NICHOLAS J. CANOVA

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 51 of 68 PagelD: 589

“AS by the Record of said Writ of Execution entered in the Records of Executions

issued in the Superior Court Clerk's Office, 6]56F-10, and examined by me.

/s/ Jennifer M. Perez

JENNIFER M. PEREZ
Acting Clerk of Superior Court

AND WHEREAS, |, the said Frank J. Provenzano, Sr., as such Sheriff, as aforesaid,
did in due form of law, advertise the said lot of land and premises to be sold under and by
virtue of the said writ of execution at public vendue, to be held at the Sheriff's Office in
Somerville, New Jersey, on TUESDAY, the 8th day of June, 2010,* at two o'clock P.M.
prevailing time of said day by advertisement signed by myself, and posted in the Sheriff's
Office and alse on the property which was in the Township of Warren in which the said
land ties, at least three weeks next before the time appointed for sclling the same, and also
published in the Courier News, Somerset Spectator and Echoes-Sentinel, three newspapers
printed and published in the said County, where the said Jand is situated, and circulating
in the neighborhood of said land, for at least four weeks, successively, once in each week
next preceding the said time one of which said newspapers is printed and published in

Franklin the most populated Municipality of said Counry.

*Sale originally scheduled for Tuesday,
June 8, 2010, but was adjourned
until Tuesday, July 6, 2010,
and held at that time.

at which last-named time and place | did accordingly offer and expose the said tot of land

and premises for sale at public vendue, under and by virtue of the said writ of Execution.

Pages 5

 

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 52 of

WHEREUPON: Jeffrey Weinberg, bidding for Wells Farge Bank, NA as Trustee under
Pooling and Servicing Agreement dated as of July |, 2006 Securitized Asset Backed
Receivables LLC Trust 2006-FR3 Mortgage Pass-Tarough Certificates, Series 2006-FR3,
4837 Watt Avenue, North Highlands, CA 95660, did bid the sum of Four Hundred Sixty-
one Thousand Dollars and No Cenis ($461,000.00) on its behalf

and ne other person bidding as much, | did then and there openly and publicly, in due form
of law, between the hours of two and five in the afternoon, strike off and sell the said fot
of land and premises for the said sum of Four Hundred Sixty-one Thousand Doliars and
No Cents ($461,000.00) to the said Wells Fargo Bank, NA as Trustee under Pooling and
Servicing Agreement dated as of July t, 2006 Securitized Asset Backed Receivables LLC
Trust 2006-FR3 Mortgage Pass-Through Certificates, Series 2006-FR3, 4837 Wait
Avenue, North Highlands, CA 95660, being then and there the highest bidder for the
same.

NOW, THEREFORE, KNOW YE, that I the said Frank J. Provenzano, Sr.,as such Sherilf
aforesaid, under and by viriue of said Writ of Execution, and in execution of the power
and trust in me repesed, and also for and in consideration of the said sum of Four Hundred
Sixty-one Theusand Dollars and No Cents ($461,000.00) to me in hand paid, the receipt
whereof! I do hereby acknowledge and therefrom acquit, exonerate and forever discharge
the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Morigage
Pass-Through Certificates, Series 2006-FR3

its successors and assions, heirs, executors and administrators, have granted, bargained,
sold, assigned, transferred and conveyed, and by these presents do grant, bargain, sell,
assign, transfer, and convey unto-the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreemeni dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3

ils successors and assigns, heirs and assigns, all and singular, the said lot of land and
premises, with the appurtenances, privileges and hereditaments thereto belanging or in
anyway appertaining: TO HAVE AND TO HOLD the same unto the said

Wells Farge Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
Pass-Through Certificates, Series 2006-FR3

ils successors and assigns, heirs and assigns, to its only proper use, benefit and behoof
forever, in as full, ample and beneficial a manner as by virtue of the said Writ of
Execution, | may, can, or ought to convey the same.

And 1, the said Frank J. Provenzano, &r., for myself. my heirs, executors and
administrators, do hereby covenant, promise and agree to with the said

Wells Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of
July 1, 2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Mortgage
‘ Pass-Through Certificates, Series 2006-FR3

its successors and assigns, heirs and assigns, that | have not, as such Sheriff aforesaid,
done or caused, suffered or procured to be done, any act, matter or thing whereby the
estate hereby intended 10 be conveyed in and to the said lot of land and premises, with the
appurtenances, is, may, or can be changed, charged, encumbered or defeated in any way
whatever,

Page &

 

 

 

68 PagelD: 590
 

(Fo be abe a Steg Pee)_00862-FLW-TIB Dace Sk Pisa 1920/11 Pagé bo StbsRanel sis os10

  

FHQOGE (STATEMENT OF PRIOR MORTGAGES, LIENS OR ENCUMBRANCES) i
. FOR
, ‘ SHERIFF'S DEEDS HORER 2 EN [n: 35
(46:15-6.1) °

To Be Recorded With Deed Pursuant to c. 49, P.L. 1968. as amended, and c.225.P.L. 1979

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STATE OF NEW JERSEY _ _
FOR RECORDER'S USE ONDE, |

58: Congideracion 5 . ie Oo,. +:
COUNTY OF MORRIS Realty Transfer Fee $ 3 Cow .

Ey

 

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IMPORTANT NOTE: ° ee =
This form is to be attached to all Sheriff's Deeds not otherwise exempt pursuant to N.J.S.A. 46:15-10. when presented | to the County
Clerk or Register of Deeds for Recording. One of the following blocks MUST be checked:

[J NO PRIOR MORTGAGES OR LIENS ARE OUTSTANDING.

®) PRIOR MORTGAGES OR LIENS OUTSTANDING AND NOT EXTINGUISHED BY THIS SALE ARE AS LISTED IN
SECTION 2 BELOW.

(4) PARTY OF LEGAL REPRESENTATIVE
WELLS FARGO BANK, NA AS TRUSTEE UNDER POOLING AND SERVICING AGEEMENT DATED AS OF JULY 1, 2006
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2006-FR3
(Plain)

DOLORES DE ALMEIDA
(Legal Representative for Plaintiff}

(“Legal representative" is (0 be interpreted broadly 10 include any person actively and responsibly participating in the transaction, such as but nol limited to: an
allormey representing. one of the parties: an attomey representing one of wie parties: a closing officer of a tie company or lending institution participating in the tmunsuction; a
holder of power of attomey from plaintiff.)

(2) CONSIDERATION

BDeponent states that, with respect to the deed hereto annexed, there follows the name or names of all mortgagees and other holders of
encumbrances constituting "consideration" as defined in the act 10 which this act is a supplement (C,.46:15-3 (c)), to which such sale shall be
subject. Such prior mortgages, liens and encumbrances are as follows:

 

NAME OF SECURED PARTY CURRENT AMOUNT DUE
2007 SEWER 3" PARTY LIEN SOLD ON 12/3/08, CERT # SS-964 5663.85
TOTAL AS OF April 26, 2010: 3663.85

NOTE: The amount of consideration on which the Realty Transfer Fee shal] be calculated shali include both the total listed above and the
amount bid at the sale as set forth in the Sheriff's Deed,

   

\

   

Deponent makes this Affidavit to induce the County Clerk or Register of Deeds/to recor
herewith in accordance with the provisions of c.49, P.L. 1968, as aineeded, andld.2

ceept the fee submitted

Subseribed and sworn to before me this
26th day of April, 2010

 

Name and address of Deponent

 

poo DOLORES DE ALMEIDA
: ” FEIN, SUCH, KAHN & SHEPARD, P.C.
-ANJ ATTORNEY AT LAW Nicholas J- Ganovs 7 Century Drive, Suite 20!

AR Hovierse Parsippany, New Jersey 07054

 

rata oO

 

FOR OFFICIAL USE ONLY
This space for use of County Clerk or Register of Deeds
ingtrumant Number County.

 

 

Beed Number__. Book Page
s u ers O00 I Need Dated p= a TO Date Recorded 1) “Zr to

 

 

 

 

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 54 of 68 PagelD: 592

“IN WITNESS WHEREOF, |, the said Frank J, Provenzano, Sr. as such Sheriff

aforesaid, have hereunio set my hand and seal this Fourth day of Qeto NO.
. ,

Signed, sealed and delivered
in the presence of ]

Thomas C. Miller

  
      
  

if
Frank J, Provenzano, Sr., She iT {L.S.}

 

 

NEW JERSEY, SOMERSET COUNTY, ss.

 

On this Fourth day of Octaber, 2010 before me, the subscriber, An Attorney at Law
of New Jersey, personally appeared Frank J. Provenzano, Sr., Sheriff of the County of
Somerset aforesaid, who is I am satisfied, the grantor in the within indenture named, and
| having first made known to him the contents thereof he did thereupon acknowledge that
ke sign, sealed and delivered the same as his voluntary act and deed, for the use and
purposes therein expressed, and the fill] and actual consideration paid or to be paid for the
transfer of title to realty evidenced by the within deed, as such consideration j
in P.L. 1968, ¢ 40, Sec. 1 (c) is $461,000.00,

   

‘Thomas C, Miller
An Attomey at Law of New Jersey

], Frank J. Provenzano, Sr., Sheriff of the County of Somerset, State of New Jersey
do solemnly swear that the land and real estate described in this deed made by me to Wells
Fargo Bank, NA as Trustee under Pooling and Servicing Agreement dated as of July 1,
2006 Securitized Asset Backed Receivables LLC Trust 2006-FR3 Morgaze Pass-Through
Certificates, Series 2006-FR3, 4837 Watt Avenue, North Highlands, CA 95660, was by
me sold by virtue of a good and subsisting execution, as is therein recited, that the money
ordered to be rade has not been, to my knowledge or belief, paid or satisfied; that the
lime and place of the sale of said land and real estate was by me duly advertised as
required by law, and that the same was cried off and sold ta de purchaser for the
best price that could be obtained.

  
   

 

To 7
Frank J. Provenzano, Sr., Sheriff

Sworn before me, An Attorney at Law of New Jersey, on this Fourth day of October |
in the year of our Lord, Two Thousand and Ten. And I do certify that [ have examined
ithe above deed mentioned, and do approve the same and wien be recorded as a good

 

and sufficient conveyance of the lands and real estate therei desdribed.

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: ;
LAN. f

UfhomasC, Miller -
An Attormey at Law of New Jersey

Page 7

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 55 of 68 PagelD: 593

 

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When recorded return to:

N& SHEPARD, BC,

COUNSELLORS AT LAW

FEIN, SUCH, &

7 CENTURY DRIVE

SUITE 201
PARSIPPANY, NEW JERSEY 07054

 

 

 

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 56 of 68 PagelD: 594

EXHIBIT J
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 57 of 68 PagelD: 595

 
  

  

    

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: Process Number, “| 1 B42 “Suffix: | Fe Date Received.” :
- Docket Number: zee. o8 ‘Division: [Ohencey
ee Cheek Amount: [~~ S8480 New Fee Amt |

FEIN, SUCH, KAHN & SHEPARD, P. Cc.

 
 
     
    
 
   
 

       

 

 

  

 

“Check Number: =
‘Lawyer on check:

   

  
   

 

 

Defendant Name: . <> [GAGE, THOMAS
* Defendant Street: a1 HILLCREST BLVD.
Defendant Address: SWARREN

 

 

  

 

 

 

“[SCHEDULEA CERTIFICATION

 

 

 

 

 

 

 
  

q CENTURY DRIVE, “SUITE 201 .
PARSIPPANY

 

 
 

 

[| ie2japeveoio «Ss CIVIL PROCESS - UPDATE ATTEMPTS | -
Attempt 2 “Attempt Attempt. Afempt Attempt. Atiempt ©. Altempt Attempt

 

 

 

 

 

 

     

~v3/2014 Time, [10: Se Disposition: Tot Att empts:.

      

. “Service Date: -

 

“8 Serving Officer : | ea _ ~ [Anerew — - on How Served Code:

  

 

7 - [eee Thomas — /

   

“ ‘Defendant:

 

| Relationship To Defendant: 4 sous tr ggg eninwunewsn engin ape vane ee
Address Where Served - a : ES se
aid Different From Defendant . 2 bese wets ection Ce

 

    
  

 

, Comme ents: (Defendant given out date ¢ “Defendant T Thomas :G ge refused to lsave

Premises "730%
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 58 of 68 PagelD: 596

EXHIBIT K
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 59 of 68 PagelD: 597

FEIN, SUCH, KAHN & SHEPARD, P.C.
COUNSELLORS AT LAW
7 CENTURY DRIVE, SUITE 201

PARSIPPANY, NEW JERSEY 07054
(973) 538-9300

 

FACSIMILE (973) 538-8234

wiv. feinsuch.com

August 4, 2011

THOMAS GAGE

LUCIA GAGE

51 HILLCREST BOULEVARD
WARREN, NJ 07059

RE: WELLS FARGO BANK, NA AS TRUSTEE UNDER POOLING AND SERVICING
AGREEMENT DATED AS OF JULY 1, 2006 SECURITIZED ASSET BACKED
RECRIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2006-FR3
ve. THOMAS GAGE
Account No: 325191088
Our File No: OCE016

Dear Sir or Madam:

Please be advised that an eviction is scheduled for your house on
August 8, 2011. At that time the SHERIFF OF SOMERSET COUNTY and
movers will be there to take possession and secure the property.
It is suggested that you make sure all your belongings are out of
the premises by that date.

 

Certified Mail, R.R.R. and regular mail

cc: OCWEN FEDERAL BANK, Lic
Attn: CHINTAN SHUKLA
SHERIFF OF SOMERSET COUNTY
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 60 of 68 PagelD: 598

EXHIBIT L
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 61 of 68 PagelD: 599
RECEIVED THURSDAY 8/2/2011 4:19:30 PM 7937344

 

 

Entered in the records of executions
issued in the Superior Court Clerk's
Office
Writ# 002779F11
FEIN, SUCH, KAHN & SHEPARD, Pc
7 Century Drive - Suite 201
Parsippany, New Jersey 07054
(973) 5358-9300
Attorneys for Plaintiff
OCEO16
WELLS FARGO BANK, NA AS TRUSTEE : SUPERIOR COURT OF NEW JERSEY
UNDER POOLING AND SERVICING : CHANCERY DIVISION
AGREEMENT DATED AS OF JULY I, 2006 : SOMERSET COUNTY
SECURITIZED ASSET BACKED :
RECEIVABLES LLC TRUST 2006-FR3
MORTGAGE PASS-THROUGH :
CERTIFICATES, SERIES 2006-FBR3 : Decket No. F-22089-08
Plaintiff,
Civil Action
Vs
THOMAS GAGE, et al.,
Defendants. : WRIT OF POSSESSION

 

THE STATE OF NEW JERSEY
to the Sheriff of the County of SOMERSET
GREETINGS:

WHEREAS, on April 13, 2010, by &@ certain judgment of
the Superior Court eof New Jersey, Chancery Division, SOMERSET
County, in a céuse therein pending, wherein the Plaintiff is
WELLS FARGO BANK, NA AS TRUSTEE UNDER POOLING AND SERVICING
AGREEMENT DATED AS OF JULY 1, 2006 SECURITIZED ASSET BACKED
RECEIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH

CERTIFICATES, SERIES 2006-FR2 and THOMAS GAGE; LUCIA GAGE;
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 62 of 68 PagelD: 600

AMERICAN EXPRESS TRAVEL BELATED SERVICES; JAEGER LUMBER & SUPPLY
Co., INC. and SUMMIT MEDICAL GROUP; the Defendants, it wes

ordered and adjudged thet the Plaintiff, its assignee or the

Int

successful bidder at Sheriff's Sale recover the possession of the
jands and premises, with the appurtenances, described in its
Complaint from the following Defendant(s) and all who hold under
said Defendent(s): THOMAS GAGE and LUCIA GAGE, which premises are
more particularily set fortn on Rider annexed hereto and made a

of which said land and premises the

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Part hereor, the possessic

said Defendants have hitherto unlawfully deprived the said

Plaintiff and or its assignees, as appears to us of record.

THEREFORE, you are hereby commanded that, withont

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delay, you cause the said Plaintiff to have possession of the

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aid land premises with the eppurtenances thereunte belonging and

tn

appertaining; and make known to the said Superior Court of New
Jersey aforesaid at Trenton within six months, the manner in
wnich you shall have executed this writ, and have you then and

there this writ.

THEREFORE, if upon the Sheriff executing the filed Writ
of Possession, the occupant(s}) refuse te leave the premises, the
Sheriff is commanded to exercise the right to remove said

occupant(s) by any force or other means mecessery.
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 63 of 68 PagelD: 601

MARY C. JACOBSON, P.J.Ch

WITNESS, the Honoreble , Judge of

the Superior Court of Trenton, aforesaid, this 2nd day of

1. CN, L} JAE
Grea
JENNIFER M: PEREZ, ESO., ACTING CLERK

Jennifer M. Perez, Esa.
Achng Clerk of Supener Court

August , 2

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FEIN SUCH, KAHN & SHEPARD, PC
Attorneys for Plaintitt

s/ FRELICTA EXEJIUBA

 
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 64 of 68 PagelD: 602

‘IM, SUCH, KAHN & SHEPARD, FC

entury Drive - Suite 2601

arsippany, New Jersey 07054
orneys for Plaintiff

3) 538-9300

O16

 

WELLS FARGO BANK, NA AS : SUPERIOR COURT OF NEW JERSEY
TRUSTEE UNDER POOLING AND : CHANCERY DIVISION:

SERVICING AGREEMENT DATED AS : SOMERSET COUNTY

OF JULY 1, 2006 SECURITIZED

ASSET BACKED RECEIVABLES LLC

TRUST 2006-FR3 MORTGAGE PASS-

THROUGH CERTIFICATES, SERIES : Docket Ne. F-22089-08
2006+FRS, :

Civil Action

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THOMAS GAGE, et al.,

endants. : CERTIFICATION To SUPPORT
TSSUANCE OF WRIT OF POSSESSION

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FELICIA EKEJIUBA, ESQ., does hereby certify:

1. I am an Attorney-at-Law of the State of New Jersey
and an associate of the law firm of FEIN, SUCH, KAHN & SHEPARD,
PC, attorneys for WELLS FARGO BANK, NA AS TRUSTEE UNDER POOLING

AND SERVICING AGREEMENT DATED AS OF JULY 1, 2006 SECURITIZED
ASSET BACKED RECEIVABLES LLC TRUST 2006-FR3 MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2006-FR3, the successful bidder at

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Sheri

inh
rh

's Sale, which took place on July 6, 2010.
2. This certification is given to Support the issuance
of the Writ of Possession so that tne Court will issue the Writ

Possession and the Sheriff of SOMERSET County may evict the

Pty

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cL

occupants at the mertgaged premises whe are not tenants protecte

by the provisions of the New Jersey Tenants Anti-Eviction Statute
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 65 of 68 PagelD: 603

(NJSA 2A: 18-61.1 ef sea.}

3. The premises for which tne execution of the Writ of

a

Possession is requested in the above matter is as follows:
51 HILLCREST BOULEVARD
WARREN, NJ O7059

4. Following entities are net protected by the

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provisions of the NJ tenent anti-eviction statute, as enunciated
in the N.7J. Supreme Court case of Chase vs. Josephson but are the

the families of the former owners who are not

Ns

former owners o
protected by the statute:
THOMAS GAGE

LUCTA GAGE

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rt
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5. I hereby certify th foregoing steéetements made

g
if any of the foregoing

ct
co

by me are true. I am aware the
statements made by me are wilfully false, I am subject to

punishment.

s/f Felicia Ekeiiuba, Esq.

DATED: June 1, 2011
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 66 of 68 PagelD: 604

 

mat 4

ALL Bhat certain tract or Barcel of Iaad and pronisas alruata,
fylag and balng da che Townghip of Yacran, County ef Soagsset and
Scat of thew Fersoy.

Also known as fas Lot 19 in Bleek 38.92 cn the Tax Asteaament map
of the Tawnahin of Rarran,

Here com=onty known #a 41 HILLCREST SLVD, WARREM, NJ, O79,

SEND Seen sed dered o Lat on deg ay 2p et Erepecte atboded Sy Mere
Tremmiig, femal 27 Sn Coy of Peat Ney fey Hepa df La ee oe na
Compo’ Dd cy Aepet 3, ITF] aw ide toy, 4,

SEADRCEMA TIONAL PORTS CoeL Ales pon x 2 HE Rina 4H cha That fe
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 67 of 68 PagelD: 605

EXHIBIT M
Case 3:11-cv-00862-FLW-TJB Document 37-1 Filed 12/20/11 Page 68 of 68 PagelD: 606

Process Number: - ~ o72 Sufix: [A | Date Recsived: | ss20T7 Te
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: [isar76_ a Check Amount: .  §84.80 New Fee Ami | _ 30.00 Te

"EIN, SUCH, KAHN )& SHEPARD, PC _

 

   

Check Number:
Lawyer on check: |

 

 

Defendant Name; | (GAGE, THOMAS
Defendant Street: [51 HILLCREST BOULEVARD
Defendant Address: M WARREN

 

“Insttuctions: ~ [CERTIFICATION
Plaintif? Name: ([WELLSFARGOBANK/NAAS TRUSTEE {J outorsiate
Lawyer Code: - [ Firm: - FEIN, SUCH, KAHN & HEPARD
-Lawyer Street: : F CENT URY DRIVE, SUIT T E 201
2 ity [PRRSIFEANY_

 

Service Type:

Municipality: ‘Milezge Amt

   

 

 

“Lawyer Citys

    

 

 

 

r aR ea CML PROCESS - UPDATE ATTEMPT So

 

tempt 0) Attempt. Ty Attempt o - Attempt n “Atemat - Le “Attempt | = * TT Anon a “Attempt od
Service Date... -[ a/82011 Time: ‘figeo - Disposition: pfs od pis eee

Serving Officer 7 [peRoss a ~ fiichact

 

 

 

 

 

 

Defendant: : 7 an - [bage, Thomas we ne ae

 

Relationship To Defendant: : |

‘Address Where Served
(i Different From Defendant |

 

 

Comments:. Defendanis vacated property on above date and time, All defendants property removed from
_- “|premises
